Case 1:19-cr-20085-MGC Document 97 Entered on FLSD Docket 06/05/2020 Page 1 of 2
   ,                                                                                                       FILED BY            Q   D.C'

           Q
           ' o Cooke- r '
                        hou kas t
                                o caoiL,&                                                                        JuN'q2'2'
                   )t.oza so k.
                    .- .
                              ' o ,) T
                              j      tAxo ra ./4.
                                                .îe..
                                                   1A c -o ctXpG>ELAJu(q1 Jt.t
                                                                       -
                                                                             ,      - ..




           xf k-.
                ? t'
                   r/7'jlocô k-t't=Te(l(.
                                        %
                                        .
                                        ecl'
                                           lt/v Y emz .ot
           ztl
           t                            ç''
                                          ttli 'o xlo
                                             'A!                  >        .
                                                                                   ktz., e-sctJclt
                                                                                                 cl-zuoo,qozl/yzotc
       k
           I'A.
             # ukh't't.D koo 470: tirl Ulw!
                                          3q.o ïtAvvhvz-lzk,
            '
            .ka4ox +' -F,Z.rvne o/a ï.
                                     Sk.1'
                                         (0 coo'lv'rè 'z- -& )qo:
       .. >
          --    .f' ' c) f  Av)
                             - s%;

              '
              1
              -kl0 Ayn '
                       ?cei.ru tzp t-'q,m jf(sz-x(m,>,gco uc,to'                                                   -


           'y
                    î cEzy'
                          hwzû-
                              zroeoc,j tTx #&e t.
                                        .
                                                   f-f'
                                                      l-ra
                                                         -àà V,A'eJ
       v.o Vlcoxpuco , 7't?k-)= ,-D C..Q
                                       .-cczxt Com o sec V 'ryn&'3o
       A! co vao eq '
                    m osm/-o'o qsî zvoo yotaccza Akcc
           a,( . Q
                 -         -        ,
                                    t                 .TA- kAw Jp                          ' JA   .    0?  .   ( ,m-b Q-o /f
       e/
        3 vn $ov,î D î ' trp,
                            b4cs     ils. .Vot- 1 Qo
                                                  .  ve-rat-oo
                      : .t
                         .      ,J                '                                                   z.
          Qn th éf'
                  G o Vklrwot t- utpc AY'A lù ifû-c .>. w .Z L
               q oo th6tsero Qo
                              ''b/
                                 vzna                                                                  .'$ j) jt
                                                                                                               '
                                                                                                               )
                   ko fho                                    kAcq Lx
                                                                   crvhv - /4 V/c-rm
               .                        'Q >m
                                        .
                                            <-$/-7-&.
                                            .           ç
                                                    5 ,.-J: dm 9% /Y'-M t-UX , tszl/q- 'M -/q-'
                ''

           % tA#'
               .tio .0 4+/Ao outx tCo . .yK too (A G'pe
                                                      h'n ' -',        .




               (-.-
                  x                Q J01'o t
                .
                                           jtk-T-oj
                                                  'oro  .
                                                              ,                    j s..
                                                                                       kt
                                                                                        '
                                                                                        x ) (?
                                                                                             -v.:tuv
       kx p. '
             AR'/vvte on >î- t> &1                                .                        2) i.ow G'czarvajto .r.
                                                                                                                 o
       h> t)W
            o r.>
                -o l
                   kvoie jm y îo j4.
                                   > Aoiz-
       i                                    .
                                                a n'rycv ztkxse so y.
                                                                    stk.s c.o u.
                                                                               4j '-o.al
                                                                                       '
    . 7 -' obsd- G''
                   .
                   vo w cooi
                           cc zvnts Aom p wt l
                           '   '
                                                                                                                       .
                                                                                                                           tm /co -r-s
                                                                                                                                   -




                               c,
                                y/t
                                  h!
                                   - ,
                                     z % j k)o j
                                               Vh-
                                                 vL7J'
                                                     : X-
                                                        CX-.
                                                           G%)vc/4(7c
                                    -
                                        tc                   '
               '                     ï-Y'/l Rotqz-mo M kcncc.&uz .rk>.,ix >î :-/t
       '
                   cuszo                    r
                                            w'bnovozcxo W tt-vx c-os/u
                                            v                                                                   y c kticsc.
       -   lt)
             r'nor                                      oo        ..   c Qh r '
                                                                              f: sa( .
                                                                                     -lern-rrzoc-aA,
                                    Lor%o Jo
                                           f)z & te                        .ï'
                                                                             z         'rw
                                                                                        'o .?
                                                    $ éstx/ss
                                                      .. -        .            .              -


                       tozaci,c (kzcd-p t.i
                                          z-.ï
                                             .c?-isorc -uszc?. c.cf
                                                                  o.                                                       .
                                                                                                 '
                                                                        '                        jN.
                                                                                                   w
                                                                                                     a rj7
                                                                                         '
                                                                     C) -)
Case 1:19-cr-20085-MGC Document 97 Entered on FLSD Docket 06/05/2020 Page 2 of 2
                                                                            X $v.S7                  .
                                                                                                         .
                                                                                                             ç ) -'-
                                                                                                               .'V.
                                                                                                                 -
                                                                                                                     .
                                                                                                                                 g
                                                                                                     0         .
                                                                                                                 u
                                                                                                             A 'm .
                                                                                    77 Jb
                                                                                       >                         p                    .o
                                                                                     e.
                                                                                             *
                                                                                                         v   X% .xh
                                                                                                                  ,.
                                                                                                                   jj
                                                                            --  'k-
                                                                                    @
                                                                                    f/   -
                                                                                                         1j...Q
                                                                                                              ,
                                                                                                              .y
                                                                                                               ,
                                                                                                               .o
                                                                             -- -         f:v                            L. .
                                                                                                                         .
                                                                                o .<
                                                                                X

                                                                                G
                                                                                A
                                                                                r   -


                           E
                           œ c
                           Y m
                           m                                                    O
                            o K
                            < œ
                            m                    V   '
                                                     V f. V
                                                 > r %CJ AX' c                       ,
                            c
                                                  4 r c
                                                  M
                                                      '
                                                      L
                                                      >!
                                                       ,
                                                       .    p                   O
                                                                                    ff



                            W                     D W t-JW ,
                             m                             #
                                                           C
                                                                                                                     '
                                                                                                                                       mf

                             C)                      VX
                                                      >                                                                                âAy
                                                                                                                                       %
                                                                                                                                       .
                                                                                                                                        u
                                                                                                                                         ...p
                                                                                                                                         ww.
                                                                                                                                        .'
                                                                                                                                        3
                                                                                                                                          'F
                                                                                                                                        .J&.
                                                                                                                                        w
                                                   t
                                                   p  .


                                                        G '#
                                                            N                                                                yBk
                                                                                                                             t
                                                                                                                             .
                                                                                                                                        M
                                                                                                                                        'W!%J
                             Q                        yA'
                                                      $
                                                                            ö                                                B>                '
                               m
                               c
                                                            p               K
                                                                            :
                                                                            #
                                                                            i
                                                                            -hD
                                                                                                                             / ;.$.
                                                                                                                             kv'        i'
                                                                                                                                         jh.
                                                                                                                                         r&';
                                                                                                                                         '
                                                                                                                                         %>
                                                                                                                                             5:'
                                                                                                                                            .*
                                                                                                                                             h'
                                                                                                                                            .' (


                                                                            > o
                                                                            - u
                                                                              ,
                                                                              w
                                                                            /
                                                                            #)            , .
                                                                                          .

                                                                *#
                                                                                         y
                                                                3           A                o
                                                                e

                                                                    h
                                                                                6 0
                                                                                  c?
                                                                                   ,
                                                                                   )
                                                                                   .
                                                                                % r-
                                                                                -
                                                                                     :
                                                                                     / (('j
                                                                                     I
